 Case 18-00728-SMT                            Doc 61 Filed 01/18/19 Entered 01/19/19 00:11:40                                                    Desc Imaged
                                                   Certificate of Notice Page 1 of 4
AMENDED Due to court closure on 1/14/2019. A new neetung of creditors date has been issued.
Information to identify the case:

                       Lorie Lynn Rones                                                       Social Security number or ITIN:      xxx−xx−8482
Debtor 1:
                                                                                              EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                     Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     United States Bankruptcy Court for the District of            Date case filed for chapter:            13     11/9/18
Columbia
Case number:          18−00728−SMT

Official Form 309Ia
Notice of Chapter 13 Bankruptcy Case                                                                                                                          12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                       About Debtor 2:
1. Debtor's full name                              Lorie Lynn Rones

2. All other names used in the
   last 8 years
                                                   2920 Pennsylvania Ave, SE
3. Address                                         Washington, DC 20020
                                                   Kevin D. Judd                                                         Contact phone 202−483−6070
4. Debtor's  attorney
   Name and address
                                                   601 Pennsylvania Avenue, NW
                                                   Suite 900 − South Building                                            Email: bkadmin@juddlawfirm.com
                                                   Washington, DC 20004

5. Bankruptcy trustee                              Nancy Spencer Grigsby                                                 Contact phone 301−805−4700
     Name and address                              185 Admiral Cochrane Dr.
                                                   Suite 240                                                             Email: grigsbyecf@ch13md.com
                                                   Annapolis, MD 21401

6. Bankruptcy clerk's office                                                                                             Hours open:
     Documents in this case may be filed                                                                                 9:00 am − 4:00 pm Monday to Friday
     at this address.                              E. Barrett Prettyman U. S. Courthouse
     You may inspect all records filed in          333 Constitution Ave, NW #1225
                                                   Washington, DC 20001                                                  Contact phone (202) 354−3280
     this case at this office or online at
      www.pacer.gov.
                                                                                                                         Date: 1/16/19
                                                                                                                                 For more information, see page 2




Official Form 309I                                         Notice of Chapter 13 Bankruptcy Case                                                    page 1
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Debtor Lorie Lynn Rones                                                                                                              Case number 18−00728−SMT

7. Meeting of creditors                                                                                               Location:
   Debtors must attend the meeting to     January 28, 2019 at 10:00 AM                                                1st Floor, U.S. Courthouse, 333
   be questioned under oath. In a joint                                                                               Constitution Ave., NW, Washington, DC
   case, both spouses must attend.                                                                                    20001
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If
   required to do so.                     so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                   Filing deadline: 2/15/19
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                         Filing deadline: 1/18/19
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                          Filing deadline: 5/8/19
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                           Filing deadline:   30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                             conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                              meeting of creditors
                                           may file an objection.

                                                         Hearing on Confirmation of the Plan
Date: February 15, 2019                Time: 09:30 AM
Location: U.S. Courthouse, 333 Constitution Ave., NW, Washington, DC 20001
9. Filing of plan                         The debtor has filed a plan. The hearing on confirmation will be held on:
                                          2/15/19 at 09:30 AM , Location: U.S. Courthouse, 333 Constitution Ave., NW, Washington, DC 20001
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                           does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                       page 2
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                                               United States Bankruptcy Court
                                                   District of Columbia
In re:                                                                                                     Case No. 18-00728-SMT
Lorie Lynn Rones                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0090-1                  User: admin                        Page 1 of 2                          Date Rcvd: Jan 16, 2019
                                      Form ID: 309Ia                     Total Noticed: 27


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 18, 2019.
db             +Lorie Lynn Rones,    2920 Pennsylvania Ave, SE,    Washington, DC 20020-3837
tr             +Nancy Spencer Grigsby,    185 Admiral Cochrane Dr.,     Suite 240,   Annapolis, MD 21401-7623
smg             Child Support Services Division,     Office of the Attorney General,
                 Judiciary Square 441 4th Street, NW,     5th Floor,    Washington, DC 20001
smg            +Office of Attorney General,    Tax, Bankruptcy, and Finance,     One Judiciary Square,
                 441 4th Street, NW,    6th Floor,    Washington, DC 20001-2714
smg             U.S. Attorney’s Office,    Civil Division - Judiciary Ct. Building,      555 4th St., N.W.,
                 4th Floor,   Washington, DC 20001-2733
ust            +U. S. Trustee for Region Four,     U. S. Trustee’s Office,    115 South Union St,
                 Suite 210 Plaza Level,    Alexandria, VA 22314-3317
721053          Corporate Correspondence,    Pepco,    PO Box 97274,    Washington, DC 20090-7274
721055         +Credit Adjustments, Inc.,    P.O. Box 5640,    Manchester, NH 03108-5640
721680         +Credit Adustments, Inc,    Account,    P.O. Box 5640,    Atlanta GA 31107
721051         +D.C. Water and Sewer Authority,     5000 Overlook Avenue, SW,    Washington, DC 20032-5212
721678         +D.C. Water and Sewer Authority,     Account 5381,    5000 Overlook Avenue, SW,
                 Washington Dc 20032-5212
721957         +Edfinancial on behalf of US Dept. of Education,      120 N. Seven Oaks Dr.,
                 Knoxville, TN 37922-2359
723249          HSBC Bank USA, National Association, as Trustee fo,      P.O. Box 24605,
                 West Palm Beach, FL 33416-4605
721683          Ocwen Account 9660,    P.O. Box 246a46,    West Palm Beach, FL 33416
721050          Ocwen Loan Servicing, LLC,    ATTN: Bankruptcy Dept.,     PO Box 24738,
                 West Palm Beach, FL 33416-4738
722123         +PEPCO,   PO Box 97294,    Washington, DC 20090-7294
721677         +Pepco Account,    P.O. Box 13608,     Philadelphia PA 19101-3608
721679         +U.S. Department of Education,    Account 7951,    P.O. Box 105193,    Atlanta GA 30348-5193
721054          U.S. Department of Education,    P.O. Box 105193,     Atlanta, GA 30348-5193

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: bkadmin@juddlawfirm.com Jan 17 2019 01:35:40       Kevin D. Judd,
                 601 Pennsylvania Avenue, NW,    Suite 900 - South Building,    Washington, DC 20004
720978         +EDI: AISACG.COM Jan 17 2019 06:38:00      BMW Bank of North America,
                 AIS Portfolio Services, LP,   4515 N Santa Fe Ave. Dept. APS,     Oklahoma City, OK 73118-7901
721743          EDI: BMW.COM Jan 17 2019 06:38:00      BMW Financial Services NA, LLC,    P.O. Box 3608,
                 Dublin, OH 43016
721681         +EDI: HFC.COM Jan 17 2019 06:38:00      HSBC Bank USA National Assa,    Account 9660,
                 PO Box 9068,   Brandon FL 33509-9068
721049          EDI: HFC.COM Jan 17 2019 06:38:00      HSBC Bank USA, National Association,
                 Trustee for Nomura Home Equity Loan Inc,    Attn: Bankruptcy Dept.,    PO Box 9068,
                 Brandon, FL 33509-9068
723226          EDI: RESURGENT.COM Jan 17 2019 06:38:00      LVNV Funding, LLC,    Resurgent Capital Services,
                 PO Box 10587,   Greenville, SC 29603-0587
721046          EDI: RESURGENT.COM Jan 17 2019 06:38:00      LVNV Funding, LLC its successors and assigns as,
                 assignee of North Star Capital,    Acquisition LLC,   Resurgent Capital Services,
                 PO Box 10587,   Greenville, SC 29603-0587
721052         +E-mail/Text: Bankruptcy_General@pepco.com Jan 17 2019 01:35:46       Pepco,    PO Box 13608,
                 Philadelphia, PA 19101-3608
                                                                                               TOTAL: 8

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
721682             BMW,   Account
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 18, 2019                                            Signature: /s/Joseph Speetjens
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District/off: 0090-1         User: admin                 Page 2 of 2                   Date Rcvd: Jan 16, 2019
                             Form ID: 309Ia              Total Noticed: 27

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 16, 2019 at the address(es) listed below:
              Kevin D. Judd   on behalf of Debtor Lorie Lynn Rones bkadmin@juddlawfirm.com,
               juddecf@gmail.com;juddkr71403@notify.bestcase.com
              Nancy Spencer Grigsby   grigsbyecf@ch13md.com
              U. S. Trustee for Region Four   USTPRegion04.DC.ECF@USDOJ.GOV
                                                                                            TOTAL: 3
